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                     UNITED STATES DISTRICT COURT                          FILED
                    SOUTHERN DISTRICT OF GEORGIA                    U.S. DlbTi'.'C i CQUn i
                              AUGUSTA DIVISION
                                                                     im JUH -9 P i2: U3
UNITED STATES OF AMERICA                      INDICTMENT NO.^                       |
                                                                                    [
             V.                               21U.S.C. § 846            SO.!   . : C;..
                                              Conspiracy to Possess with
CONWAY JAMES RHINEHART                        Intent to Distribute and to
                                              Distribute Controlled Substances
                                             (a-PHP, eutylone, and N-
                                             Ethylheptedrone)

                                              21 U.S.C,§ 841(a)(1)
                                              Possession with Intent to
                                              Distribute Controlled
                                              Substances (a-PHP,eutylone,
                                              and N-Ethylheptedrone)

THE GRAND JURY CHARGES THAT:                                  CR1 22 -005 5
                                  COUNT ONE
                 Conspiracy to Possess with Intent to Distribute and
   to Distribute Controlled Substances(a-PHP, eutylone, and N-Ethylheptedrone)
                                  21 U.S.C. § 846

      Beginning on a date at least as early as September 1, 2020, up to and including

the return date of this indictment, the precise dates being unknown, in Richmond

County, within the Southern District of Georgia, and elsewhere, the defendant,

                        CONWAY JAMES RHINEHART


aided and abetted by others known and unknown, with some joining the conspiracy

earlier and others joining later, did knowingly and intentionally combine, conspire,

confederate and agree with others known and unknown, to possess with intent to

distribute and to distribute a mixture or substance containing a detectable amount

of a-PHP a mixture or substance containing a detectable amount of eutylone, and a
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mixture or substance containing a detectable amount of N-Ethylbeptedrone, all

Schedule I controlled substances.


      All in violation ofTitle 21, United States Code, Sections 841(a)(1) and 846.
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                                      COUNT TWO
             Possession with Intent to Distribute Controlled Substances
                     (a-PHP, eutylone, and N-Ethylheptedrone)
                               21 U.S.C. § 841(a)(1)

         On or about July 21, 2021, in Richmond County, within the Southern

District of Georgia, the defendant,

                        CONWAY JAMES RHINEHART,


aided and abetted by others known and unknown, did knowingly and intentionally

possess with intent to distribute a mixture or substance containing a detectable

amount of a-PHP,a mixture or substance containing a detectable amount of eutylone,

and a mixture or substance containing a detectable amount of N-Ethylheptedrone,

all Schedule I controlled substances.


      All in violation of Title 21, United States Code, Section 841(a)(1) and Title 18,

United States Code, Section 2.
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                             FORFEITURE ALLEGATIONS

       The allegations contained in Counts One through Two of this Indictment are

hereby re-alleged and incorporated by reference for the purpose of alleging forfeitures

pursuant to Title 21, United States Code, Section 853.

       Pursuant to Title 21, United States Code, Section 853, upon conviction of any

offense in violation of Title 21, United States Code set forth in this Indictment, the

defendant,

                            CONWAY JAMES RHINEHART


shall forfeit to the United States any property constituting, or derived from, any

proceeds obtained, directly or indirectly, as the result ofsuch offense and any property

used, or intended to be used, in any manner or part, to commit, or to facilitate the

commission of, the offense(s). The property to be forfeited includes but is not limited

to:


       a.    Venmo/PayPal Card Holder
             #5143-7724-0632-2280, VL: $1,833.50

       b.        Wells Fargo Bank, N.A.
                 Acct.#1010300971970, VL: $18,585.93

       c.        Wells Fargo Bank, N.A.
                 Acct.#9352683693, VL: $26,467.50

       d.        Wells Fargo Bank, N.A.
                 Acct.#1927582039, VL: $40.00

       If, as a result of any act or omission of a defendant, any ofthe property subject

to forfeiture:


       a.        cannot be located upon the exercise of due diligence;
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      b.     has been transferred or sold to, or deposited with, a third person;

      c.     has been placed beyond the jurisdiction of this Court;

      d.     has been substantially diminished in value; or

      e.     has been commingled with other property which cannot be subdivided
             without difficulty,

it is the intent ofthe United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendant up to the value of

the forfeitable property.




                            Signatures on following page.
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                                       A True Bill.




                                       Fo:




David Estes                            Patricia G. Rhodes
United States Attorney                 Assistant United States Attorney
                                       Chief, Criminal Division




                                       Jeremiah L. Johnson
                                       Assistant United States Attorney
                                       Lead Counsel
